The Harrington Company, Petitioner, v. Commissioner of Internal Revenue, RespondentHarrington Co. v. CommissionerDocket No. 6680United States Tax Court6 T.C. 720; 1946 U.S. Tax Ct. LEXIS 231; April 16, 1946, Promulgated *231 Decision will be entered for respondent.  Taxpayer corporation, keeping books on the accrual basis, voted additional compensation to officers who agreed to contribute the sums voted to surplus.  Corporate tax return Forms 1120 and 1121 were timely filed, each bearing no statement of income or deductions, but showing an estimate of tax due and a notation that "Due to sickness and/or the exigencies of the National Emergency the detailed figures will be included in amended return." Itemized returns were filed 60 days after the return due date.  Held:(1) Since liability for the compensation voted was contingent on the officers contributing it to corporation surplus, it was not an expense incurred in the taxable year. Dixie Pine Products Co. v. Commissioner, 320 U.S. 516"&gt;320 U.S. 516; Ames Reliable Products Co., 44 B. T. A. 176.(2) Since the return forms first filed were not the returns required by law and did not constitute a request for extension of time, and reasonable cause for delay was not established in the record, delinquency penalties were properly imposed.  William J. Duiker, Esq., for the petitioner.William H. Best, Esq., for the respondent.  Hill, Judge.  HILL *721  This proceeding involves tax deficiencies and penalties for the calendar years 1940 and 1941 in the following amounts:YearTaxDeficiencyPenalty1940Income tax$ 1,657.93Declared value excess profits tax1,206.911941Income tax5,193.62$ 519.30Declared value excess profits tax2,253.74225.37Excess profits tax1,570.38157.04The issues are (1) whether certain parts of the amounts deducted by petitioner as compensation of officers from its gross income for 1940 and 1941 represent business expenses paid or incurred during the respective calendar years, and (2) whether petitioner is*233  liable for penalties for failure to file within the time required by law its corporation income and declared value excess profits tax return for the taxable year 1941 and its corporate excess profits tax return for the taxable year 1941.  The tax returns and return forms involved in this proceeding were filed with the collector of internal revenue for the first collection district of Pennsylvania at Philadelphia.The case was submitted upon stipulations of facts with joint exhibits, and oral testimony and exhibits introduced at the hearing.  The facts stipulated are so found and so far as material are summarized in our findings of fact.FINDINGS OF FACT.Petitioner is a corporation organized in 1893 under the laws of the Commonwealth of Pennsylvania, with its principal place of business in Philadelphia, Pennsylvania.  It is engaged in the manufacture and sale of hoists, trolleys, and cranes.  During the taxable years 1940 and 1941 the officers and members of the board of directors were Roger Sherron, president, Richard E. Bishop, vice president, A. M. Harrington, treasurer, and Helen Harrington Bishop, secretary. The outstanding capital stock of the petitioner during the years involved*234  consisted of 2,600 shares of common stock, 386 1/4 shares being owned by Roger Sherron, 913 3/4 shares by A. M. Harrington, and the remaining 50 percent of the stock by the other two directors and Elizabeth Scott.  Roger Sherron had been an officer of the company since about 1905 and president since about 1931.  A. M. Harrington had been treasurer since about 1908 and during 1941 also acted as general manager.  During the depression of the 1930's relatively little compensation was received by the officers, and during 1932, 1933, and 1934 salaries were waived by them.During 1940 and 1941 Roger Sherron received weekly compensation totaling $ 3,120 each year, and A. M. Harrington received weekly *722  compensation totaling $ 4,141 for 1940 and $ 6,344 for 1941.  At an informal and unrecorded meeting of directors Sherron and Harrington, and possibly Bishop, held sometime in 1940, additional compensation was voted to Sherron and Harrington in the amount of $ 7,000 each for that year.  At a similar meeting held sometime in 1941 additional compensation was voted to the officers for that year.  The additional salaries were voted as remuneration for inadequately compensated efforts during*235  the depression years and for increasingly strenuous efforts during 1940 and 1941.  Formal meetings of the board of directors were held in 1939 and 1942, but not in 1940 or 1941.  At a stockholders' meeting on October 19, 1942, a resolution was adopted approving and ratifying the actions of the directors and officers for 1940 and 1941.In the late months of 1940 Sherron and Harrington each executed and delivered to the corporation, without consideration, his individual demand note in the amount of $ 6,000.  In 1941 each gave an additional demand note to the corporation, without consideration.  The contribution of these demand notes was part of a company procedure established in 1937 and followed only when the financial status of the company brightened and additional officers' salaries were to be or had been voted for the year in which the notes were given.  The contributions were made to avoid an excessive depletion of company cash by payment of the additional salaries.Petitioner kept its books and made its tax returns on the accrual basis. Under the caption "Closing Entries, December 1940," petitioner recorded on its journal the following entries:DebitCreditNotes Receivable$ 12,000.00Paid in Surplus$ 12,000.00To record the following demand notes&nbsp;&nbsp;dated 12/4/40:Roger Sherron$ 6,000.00A. M. Harrington6,000.00Salaries -- Officers:Roger Sherron7,000&nbsp;&nbsp;&nbsp;14,000.00A. M. Harrington7,000&nbsp;&nbsp;&nbsp;Accrued Salaries -- Officers14,000.00To record balance of salaries due&nbsp;&nbsp;officers for year 1940.Accrued Salaries -- Officers12,000.00Notes Receivable:Roger Sherron6,000&nbsp;&nbsp;&nbsp;12,000.00A. M. Harrington6,000&nbsp;&nbsp;&nbsp;To record payment by setoff of demand&nbsp;&nbsp;notes dated 12/4/40.Accrued Salaries2,000.00R. S.1,000.00A. M. H.1,000.00To close personal a/c's.*236 *723   The following journal entry, dated December 1, 1941, appeared immediately after a December 15 entry and immediately prior to numerous December 31 entries:DebitCreditNotes receivable$ 17,750.00Paid in surplus$ 17,750.00To record the following demand notes dated&nbsp;&nbsp;Dec. 1st, 1940: *Roger Sherron$ 7,500.00A. M. Harrington10,250.0017,750.00Under the heading "Closing Entries, December 31st, 1941," petitioner made the following entries:DebitCreditSalaries -- Officers$ 30,000.00Accrued Salaries -- Officers$ 30,000.00To record balance of salaries due Officers&nbsp;&nbsp;for year 1941 as follows:Roger Sherron$ 10,000.00A. M. Harrington, G. Mgr12,344.00A. M. Harrington, Treas5,656.00H. H. Bishop, Secy2,000.0030,000.00Accrued Salaries -- Officers17,750.00Notes Receivable17,750.00To record payment by set off of demand&nbsp;&nbsp;note dated Dec. 1st, 1941:Roger Sherron7,500.00A. M. Harrington10,250.0017,750.00Accrued Salaries12,250.00R. S.2,500.00A. M. H.7,750.00H. H. B.2,000.00To close Personal accts.*237  Petitioner's financial statements and journal show the following items as of December 31, 1940, and December 31, 1941:19401941Cash on deposit and on hand$ 31,863.46$ 48,506.50Total current assets169,900.47230,169.99Total current liabilities21,963.2739,835.93Net profit for year3,583.5522,133.55(Excluding prepaid insurance and advances tosalesmen.)*724  By his original and amended individual income tax returns for 1940 and 1941 Roger Sherron reported as compensation received from petitioner $ 10,180 for 1940 and $ 13,120 for 1941.  A. M. Harrington likewise reported as his salary income from petitioner $ 11,089 for 1940 and $ 24,344 for 1941.In computing net income in its tax returns petitioner deducted amounts which included as compensation to officers Sherron and Harrington $ 21,269 for 1940 and $ 37,464 for 1941.  Respondent disallowed $ 12,000 of the 1940 deduction and $ 17,750 of the 1941 deduction, these being the amounts which it appears from petitioner's books were offset against the contributed promissory notes.On March 16, 1942, petitioner filed Form 1120, the corporate income and declared value excess profits tax return*238  form, and Form 1121, the corporate excess profits tax return form.  These documents were blank, with the exception that both contained the name and address of the petitioner, were signed by petitioner's officers, bore petitioner's seal, and were notarized.  On the face of each document was the following typewritten notation: Remarks:Due to sickness and/or the exigencies of the National Emergency the detailed figures will be included in amended return.In the space on Form 1120 for total tax due was inserted by typewriter "(Estimated) $ 1,600.00." On Form 1121, in the space for balance of tax due was inserted "None." The affidavit of the person preparing each form was amended by addition of "Based on incomplete data." Petitioner did not file within the time required by law a corporation income and declared value excess profits tax return for 1941 or a corporation excess profits tax return for 1941, and it did not request or receive an extension of time within which to file either of those returns.  On May 15, 1942, petitioner filed fully itemized returns for the taxable year 1941, both Form 1120 and Form 1121 bearing the notation "Amended Return"; total tax due was shown *239  on Form 1120 to be $ 10,655.19, and on Form 1121 to be none.OPINION.We are first called upon to consider whether respondent correctly disallowed $ 12,000 of the amount which petitioner deducted as compensation of officers from its gross income for 1940 and $ 17,750 of a similar deduction from the 1941 income.  Section 23 (a) (1) (A) of the Internal Revenue Code authorizes the deduction of reasonable allowances "paid or incurred" as compensation to corporation officers for services actually rendered.  Allowance of the claimed deductions must be based upon facts sufficient to bring them within this provision.  The burden of proving these facts is upon *725  petitioner.  Shield Co., 2 T. C. 763. The respondent does not object to the claimed deductions on the ground of unreasonableness or on the ground that the services for which they were to compensate were not actually rendered.  Since petitioner computed its tax liability on the accrual basis, the ultimate issue is therefore whether the salaries in controversy were expenses "incurred" by petitioner within the respective calendar years.The petitioner contends that its liability for the full salaries*240  voted was incurred and accrued during the taxable year for which voted, and that the offset of salaries against the donated promissory notes was a cancellation by creditors of fixed liabilities to each other and not a corporate readjustment of salaries or a waiver of part of the salaries by the corporation officers.  Respondent argues that the salaries were not expenses incurred and accruable to the extent that they were set off against the notes.  We agree with respondent.Expenses are not incurred unless there has arisen an unconditional legal obligation to pay them and they do not accrue within a given taxable year unless all of the events which determine the liability of the taxpayer to pay occur within that year.  Dixie Pine Products Co. v. Commissioner, 320 U.S. 516"&gt;320 U.S. 516, 519; Bauer Bros. v. Commissioner, 46 Fed. (2d) 874, 875; certiorari denied, 283 U.S. 850"&gt;283 U.S. 850. We have recognized many times that a readjustment during the year of the amounts of salaries is not unusual in corporation procedure and we have repeatedly held that "the amounts incurred are those finally agreed upon during the*241  year." Albert W. Russell, 35 B. T. A. 602, 603, and cases there cited.In considering whether the petitioner has met the burden of proof on this issue, we think a close scrutiny of the entire transaction is justified by the fact that the additional compensation was voted by the officers to receive it without any apparent consultation with the other officers or stockholders.  Bookkeeping entries can not take the place of nor create expenses incurred, Stern-Slegman Prins Co. v. Commissioner, 79 Fed. (2d) 289, 291, and yet it is only by reliance upon petitioner's books that we can determine in this case the amounts of the 1941 additional compensation, the dates of all the notes involved, and the amounts of the 1941 notes.  The dates on which the additional compensation for both 1940 and 1941 was voted are not revealed in the testimony, shown in the exhibits, or contained in either of the stipulations.  The sole witness, A. M. Harrington, one of the two directors known for certain to have been present at the meetings, could not recall the specific meetings at which the extra salaries were authorized, although he remembered*242  that additional compensation had been agreed upon.  Harrington variously estimated the date of the 1940 meeting as "during the early part of 1940" and *726  "when the cash position [of the company] began to improve." The testimony does not disclose even a guess as to the date of the 1941 meeting.  Apparently the only written indication of action taken at these informal meetings is that found among the December closing entries on petitioner's journal.  Cf.  Troy Motor Sales Co., 14 B. T. A. 546, 556. Harrington did not recall when the promissory notes were given and, according to his testimony, had unwittingly destroyed the canceled notes during the summer of 1945 while this proceeding was pending.We have found that by procedure established in 1937 the promissory note contributions to the corporation were made only when additional salaries were to be or had been voted to the contributing officers for the year in which the notes were given, and we have found that the purpose of the contributions was to avoid the excessive depletion of corporation cash by payment of the salaries. In view of these findings it is clear that, even if the additional salaries*243  were voted prior to the donation of the notes, the vote was taken with the understanding of the benefiting officers and the voting directors that personal promissory notes of the officers would be made and delivered to the corporation before the end of the year in such amounts that the bookkeeping offset would leave due to each officer only the amount of the salary which conveniently could be paid by the company.  It seems obvious, therefore, that if any corporation liability for additional compensation was created by the vote of the two directors, it was contingent and thus nonaccruable. Ames Reliable Products Co., 44 B. T. A. 176; Empire Sprinkler Co., 18 B. T. A. 1126; Verndale Garage, Inc., 15 B. T. A. 57. The extent of the liability and not merely the date of payment remained to be determined. Commissioner v. Brooklyn Radio Service Corporation, 79 Fed. (2d) 833, reversing 31 B. T. A. 269. The fixed corporate liability for salaries of its officers for the years in question arose only when it was determined what the corporation*244  conveniently could pay and the notes were given for the difference between these amounts and the salaries voted. See Schoellkopf Aniline &amp; Chemical Works, Inc. v. United States, 3 Fed. Supp. 417, 421. The conveniently payable amounts were allowed by respondent as deductions for salaries accrued.It follows from the foregoing remarks that the full amounts voted, though credited on the books as closing entries for the taxable years, were not at any time available to the officers, and were not constructively received by them.  McDuff Turner, 5 T.C. 1261"&gt;5 T. C. 1261. Cf.  Michael Flynn Mfg. Co., 3 T.C. 932"&gt;3 T. C. 932. Petitioner points out that in their individual income tax returns the officers included in their gross incomes the total salaries voted. Whether they paid the correct amount of tax due upon their individual incomes does not affect the tax liability of the corporation, though their apparent belief that they had received the full amounts voted might throw some light upon a less vivid pattern *727  of facts than we have here.  Cf.  Willkie v. Commissioner, 127 Fed. (2d) 953.*245 In the brief, respondent relies upon Stern-Slegman Prins Co. v. Commissioner, supra, where it was held that deductions for salaries paid or incurred are limited by a downward adjustment of the authorized compensation during the taxable year. Petitioner attempts to distinguish that case and cites in support of the allowance of the claimed deductions Lamm Lumber Co., 45 B. T. A. 1; Boger &amp; Crawford, Inc., 13 B. T. A. 835, and numerous memorandum opinions.  Since we hold that the petitioner's liability for the full salaries voted never accrued, it is unnecessary to consider whether it was adjusted downward.  For the same reason we pass over petitioner's contention that the claimed deductions would have been allowable had there been an exchange of cash between officer and corporation rather than the purported exchange of liabilities.  But see Royal Mfg. Co. v. Commissioner, 139 Fed. (2d) 958; Albert W. Russell, 35 B. T. A. 602. The authorities cited by petitioner suggest no cure for the defect which we find in its case.We *246  conclude and hold that the amounts in controversy were not expenses incurred by the corporation within section 23 (a) (1) (A) of the Internal Revenue Code.The second issue is whether petitioner is liable for penalties for delinquency in filing an income and declared value excess profits tax return for 1941 and an excess profits tax return for 1941.  We have found, and it is not contended otherwise, that petitioner did not file such returns as are required by law within the time required by law, 1 and did not request or receive an extension of time for the filing of *728  those returns.  Nicholas Roerich, 38 B. T. A. 567, 583; affd., on other issues, 115 Fed. (2d) 39; certiorari denied, 312 U.S. 700"&gt;312 U.S. 700; National Contracting Co., 37 B. T. A. 689; affd., 105 Fed. (2d) 488.*247  As we understand it, petitioner's contention is (1) that each skeleton tentative return form which it filed substantially complied with Treasury Department Mimeograph 3361, which first established conditions to the grant of extensions of time, and that each form, therefore, should have been considered by the collector to be a request for extension, and (2) that the filing of tentative returns, with a statement of reasons therefor and notice that amended returns would be filed later, "eliminates completely the implication" of willful neglect against which the penalty provision of the code is directed.  Petitioner apparently feels that for either of these reasons the penalties asserted by the respondent are not supported by section 291 of the Internal Revenue Code.  2 We can not agree as to either contention.*248 Section 53 (a) (2) of the Internal Revenue Code provides as a relief measure that "the Commissioner may grant a reasonable extension of time for filing returns, under such rules and regulations as he shall prescribe with the approval of the Secretary." This authority is delegated by section 19.53-2 of Regulations 103 (1940) to the various collectors of internal revenue, and applications for extension of time are directed to be addressed to the collector for the taxpayer's district and to contain "a full recital of the causes for delay." By Mimeograph 3361, IV-2 C. B. 69, dated November 20, 1925, the Commissioner of Internal Revenue authorized collectors to grant extensions according to certain rules which were there stated.  The second of these is:2. The application for the extension must state specifically the reason for requesting that the time for filing the return be extended.  The extension should be granted only if explanation given is satisfactory to the collector. In this connection, it is not believed that the illness or absence of a particular officer of a corporation or of a member of a partnership constitutes in itself a sufficient reason for granting the corporation*249  or partnership an extension of time within which to file its return.To provide uniformity and to aid collectors, the Commissioner promulgated on April 16, 1937, by Mimeograph 4584, 1937-1 C. B. 97, Form 1134, with instructions, entitled "Application for Extension of Time for Filing Income and Excess-Profits Tax Returns." Prior to and since 1937 numerous Treasury Department decisions and rulings on the subject have been issued.  Mim. 3759, VIII-2 C. B. 123; Mim. 3789, IX-1 C. B. 126; I. T. 3451, 1941-1 C. B. 285; Mim. 5204, 1941-1 *729  C. B. 286; Mim. 5213, 1941-2 C. B. 110; I. T. 3529, 1942-1 C. B. 96. The last two mimeographs made clear that extensions of time would be granted to corporations only after a careful examination of the merits of the case.  The 1942 office decision included an announcement that, due to the Nation's urgent need for revenue to finance its war effort, the Bureau of Internal Revenue policy would be to grant extensions of time for filing returns for the calendar year 1941 "only in those cases where * * * most unusual *250  and meritorious circumstances * * * justify the extension requested." Applications by corporations which appeared to the collector to warrant favorable action were to be forwarded to Washington and granted only by the Commissioner.  We find no room for criticism of the announced policy to be followed in the exercise of the discretion conferred upon the Commissioner by section 53 (a) (2) of the code, and we know of no reason to conclude that meritorious requests for extensions have not been favorably and expeditiously acted upon by the administrative officials.In the light of this declared policy, we do not think that it fairly can be said that petitioner merely erred in failing to use the proper form for requesting extensions of time. We hesitate to assume, as petitioner suggests, that if the information advanced on the return forms had been presented on Form 1134 the Commissioner would have granted a postponement.  Nor do we agree that the respondent was remiss or arbitrary in failing to interpret the forms which petitioner filed as requests for extensions of time and in failing to advise petitioner to amplify the stated reasons for delay.  The notation of the petitioner that, "Due*251  to sickness and/or the exigencies of the National Emergency the detailed figures will be included in amended returns," suggests that any arbitrary action was on its part in granting itself an extension of unspecified duration.  Not only did petitioner fail to use the form designed to bring this seasonable matter to the administrative attention, but it did not purport to request an extension of time and obviously did not consider that it had made such a request.  It appears doubtful, moreover, that the reasons for delay were stated in sufficient detail, or, if fully stated, would have been of sufficient merit to justify the grant of a period of grace.  The administration of the tax laws would be obstructed and the penalties provided by Congress to assure compliance with them would lose their effectiveness if a taxpayer by resort to the casual gesture which petitioner here employed could shift the burden which the law places upon him onto the Commissioner of Internal Revenue.  We do not think that section 53 (a) (2) of the code requires or contemplates that the Commissioner shall to that extent shepherd the taxpayer in his compliance with the law.  We conclude, therefore, that petitioner's*252  first contention *730  as to the penalty issue is disposed of by the finding that no request for extension of time was made or granted.As to petitioner's second contention, it is only necessary to observe that the burden is upon petitioner to show the reasonable cause which takes his delinquency out of the realm of willful neglect. Economy Savings &amp; Loan Co., 5 T. C. 543, 552; Burford Oil Co., 4 T.C. 613"&gt;4 T. C. 613, 618. Indications of the absence of fraud or criminal conduct do not avoid the conclusion that willful negligence as used in section 291 of the Internal Revenue Code was the reason for the delinquency. Plunkett v. Commissioner, 118 Fed. (2d) 644, 650. If it was not and the taxpayer contends that the tardiness was excusable, a prerequisite to relief on that ground is that the actual cause of the delay be established in the record of the proceeding.  In this case petitioner has neither alleged it in the pleadings nor proved it at the hearing.Decision will be entered for respondent.  Footnotes*. A bookkeeper's error apparently explains the recording of this date rather than Dec. 1, 1941.↩1. SEC. 52. CORPORATION RETURNS.(a) Requirement.  -- Every corporation subject to taxation under this chapter shall make a return, stating specifically the items of its gross income and the deductions and credits allowed by this chapter and such other information for the purpose of carrying out the provisions of this chapter as the Commissioner with the approval of the Secretary may by regulations prescribe. * * ** * * *SEC. 53. TIME AND PLACE FOR FILING.(a) Time for Filing --(1) General rule.  -- Returns made on the basis of the calendar year shall be made on or before the 15th day of March following the close of the calendar year. Returns made on the basis of a fiscal year shall be made on or before the 15th day of the third month following the close of the fiscal year.(2) Extension of time.  -- The Commissioner may grant a reasonable extension of time for filing returns, under such rules and regulations as he shall prescribe with the approval of the Secretary. Except in the case of taxpayers who are abroad, no such extension shall be for more than six months.* * * *SEC. 729. LAWS APPLICABLE.(a) General Rule.  -- All provisions of law (including penalties) applicable in respect of the taxes imposed by Chapter 1, shall, insofar as not inconsistent with this subchapter, be applicable in respect of the tax imposed by this subchapter.  [Ch. 25 subch. E, excess profits tax.]↩2. SEC. 291. FAILURE TO FILE RETURN.In case of any failure to make and file return required by this chapter, within the time prescribed by law or prescribed by the Commissioner in pursuance of law, unless it is shown that such failure is due to reasonable cause and not due to willful neglect, there shall be added to the tax: 5 per centum if the failure is for not more than thirty days with an additional 5 per centum for each additional thirty days or fraction thereof during which such failure continues, not exceeding 25 per centum in the aggregate. * * *↩